Case 2:20-cv-08673-MCA-MAH Document 27-2 Filed 01/04/22 Page 1 of 4 PageID: 407



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 Attorneysfor Defendants and
 Nominal Defendant Bed Bath & Beyond Inc.


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



                                                     Master File No.2:20-cv-08673-MCA-MAH
 IN RE BED BATH & BEYOND
 STOCKHOLDER DERIVATIVE
 LITIGATION




                  DECLARATION OF JONATHAN E. RICHMAN
                          IN CONNECTION WITH
                DEFENDANTS' MOTION TO DISMISS PLAINTIFFS'
       VERIFIED SHAREHOLDER DERIVATIVE CONSOLIDATED COMPLAINT

        I, Jonathan E. Richman, pursuant to 28 U.S.C. § 1746, declare as follows:

         1.     I am a member of the law firm of Proskauer Rose LLP, counsel for nominal

 defendant Bed Bath & Beyond Inc.("BBBY")and the individual defendants in the above-

 captioned action. I am a member of the Bar of the State of New York and have been admitted to

 appear pro hac vice in this action.

        2.      I make this Declaration to provide the Court with copies of documents cited in

 Defendants' Memorandum of Law in support of their motion to dismiss the Verified Shareholder

 Derivative Consolidated Complaint in this action.
Case 2:20-cv-08673-MCA-MAH Document 27-2 Filed 01/04/22 Page 2 of 4 PageID: 408



        3.      I make this Declaration on personal knowledge, except as otherwise stated.

        4.      Attached as Exhibit A is a true and correct copy of the transcript of BBBY's

 conference call with analysts on January 9, 2019, to discuss BBBY's earnings for the third

 quarter of fiscal year 2018.

        5.      Attached as Exhibit B is a true and correct copy of BBBY's Form 8-K (with its

 exhibits) filed with the U.S. Securities and Exchange Commission (the "SEC")on April 22,

 2019, announcing changes to the composition of BBBY's Board of Directors.

        6.      Attached as Exhibit C is a true and correct copy of BBBY's Form 10-K for its

 2018 fiscal year ended March 2, 2019,filed with the SEC on April 30, 2019.

        7.      Attached as Exhibit D is a true and correct copy of BBBY's Foiiii 8-K (with its

 exhibits) filed with the SEC on May 29, 2019, announcing additional new members of BBBY's

 Board of Directors.

        8.      Attached as Exhibit E is a true and correct copy of the transcript of BBBY's

 conference call with analysts on July 10, 2019, to discuss BBBY's earnings for the first quarter

 of fiscal year 2019.

        9.      Attached as Exhibit F is a true and correct copy of BBBY's Form 8-K (with its

 exhibits) filed with the SEC on July 10, 2019, reporting financial results for the first quarter of

 fiscal year 2019.

         10.    Attached as Exhibit G is a true and correct copy of BBBY's Faun 8-K filed with

 the SEC on July 23, 2019, announcing a reduction in BBBY's corporate staff at the company's

 headquarters in Union, New Jersey.




                                                   2
Case 2:20-cv-08673-MCA-MAH Document 27-2 Filed 01/04/22 Page 3 of 4 PageID: 409



         11.     Attached as Exhibit H is a true and correct copy of BBBY's Form 8-K (with its

 exhibits) filed with the SEC on September 4, 2019, announcing BBBY's strategic initiatives,

 including its inventory-reduction program.

         12.     Attached as Exhibit I is a true and correct copy of the transcript of BBBY's

 conference call with analysts on October 2, 2019, to discuss BBBY's earnings for the second

 quarter of fiscal year 2019.

         13.     Attached as Exhibit J is a true and correct copy of BBBY's Form 8-K filed with

 the SEC on December 17, 2019, announcing a restructuring of BBBY's leadership team,

 including the departure of six senior members.

         14.     Attached as Exhibit K is a true and correct copy of BBBY's F01111 8-K (with its

 exhibits) filed with the SEC on January 8, 2020, to discuss BBBY's earnings for the third quarter

 of fiscal year 2019.

         15.     Attached as Exhibit L is a true and correct copy of the transcript of BBBY's

 conference call with analysts on January 8, 2020, to discuss BBBY's earnings for the third

 quarter of fiscal year 2019.

         16.    Attached as Exhibit M is a true and correct copy of the transcript of BBBY's

 conference call with analysts on February 18, 2020, to discuss BBBY's recent asset sale and

 capital-allocation strategy.

         17.    Attached as Exhibit N is a true and correct copy of BBBY's proxy statement filed

 with the SEC on June 18, 2020.

        18.     Attached as Exhibit 0 is a true and correct copy of the initial Complaint in

Schneider v. Tritton, Index No. 516051/2020, filed in the Supreme Court of the State of New

 York, County of Kings, on August 28, 2020.


                                                  3
Case 2:20-cv-08673-MCA-MAH Document 27-2 Filed 01/04/22 Page 4 of 4 PageID: 410



        19.     Attached as Exhibit P is a true and correct copy ofthe initial Complaint in

 Anthony v. Tritton, Index No. 514167/2021, as filed in the Supreme Court for the State of New

 York, County of Kings, on June 11, 2021.

        20.     Attached as Exhibit Q is a true and correct copy of the Consolidated Verified

 Shareholder Derivative Complaint in In re Bed Bath & Beyond Inc. Stockholder Derivative

 Litigation, Index No. 516051/2020, as filed in the Supreme Court for the State of New York,

 County of Kings, on November 24, 2021. This Consolidated Complaint consolidates the claims

 originally filed in the Schneider and Anthony cases.

        21.     Attached as Exhibit R is a true and correct copy of BBBY's Restated Certificate

 of Incorporation, dated May 31, 1992.

        22.     Attached as Exhibit S is a true and correct copy of the Amended Class Action

 Complaint for Violations of the Federal Securities Laws filed on October 20, 2020 in Vitiello v.

 Bed Bath & Beyond Inc., No. 2:20-cv-04240-MCA-MAH (D.N.J.)(ECF No. 42).

        I declare under penalty of perjury under the laws of the United States that the foregoing is

 true and correct to the best of my knowledge.


 Dated: New York, New York
        January 4, 2022


                                                             Jonathan E. Richman




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